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IN THE UNITED sTATEs DISTRICT COURT H"; 3/

FoR THE wEsTERN DISTRICT oF TENNESSEE 05{ M EPH ‘: 56
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VINCENT BASS,
Plaintiff,

vs. No. 04-2318 Ma[P

FEDER.AL EXPRES S CORPORATION ,

Defendant.

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ORDER GRANTING DEFEN'DANT'S MOTION TO COMPEL PLAINTIFF'S
DEPOSITION AND GR.ANTING IN PART MOTION TO EXTEND
DEADLINES FOR DISCOVERY A.N'D DISPOSITIVE MOTIONS

 

Before the Court is Defendant Federal Express Corporation's
Motion to Compel Plaintiff’s Deposition and Extend Deadlines for
Discovery and Dispositive Motions, filed April 4, 2005 (dkt #17}.
Plaintiff Vincent Bass has not responded to this motion. For the
following reasons, the motion to compel is GRANTED and the motion
to extend deadlines is GRANTED IN PART.

Bass, through counsel, filed this employment discrimination
lawsuit on April 29, 2004. The Court entered a scheduling order
setting the discovery deadline for April 5, 2005 and deadline for
dispositive motions for May 5, 2005. Trial is set for August 22,
2005. Because Federal Express (“Fed EX”) is having difficulty
communicating with Bass, it seeks an order compelling Bass to

appear for his deposition and extending the discovery and

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with Ru|e 58 and/or 79{a) FRCP on ~=3 '

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dispositive motion deadlines by 45 and 75 days, respectively.

Fed Ex first contacted Bass's counsel to schedule his
deposition in October 2004. After several telephone calls between
the attorneys, Bass's deposition was set for January 24, 2005.
Less than one week prior to the scheduled deposition, however,
Plaintiff's counsel moved to withdraw as counsel. At that timer
Fed Ex agreed to postpone the deposition until January 31 to allow
Bass to find a new attorney. The Court granted the motion to
withdraw, but since that time, Bass has not retained, another
attorney.

On February l, Fed Ex sent a letter to Bass, requesting a
mutually convenient date for his deposition. Apparently, Bass did
not respond, and Fed Ex noticed his deposition for March 1. Fed Ex
was unable to confirm that Bass would appear on that date, so it
rescheduled the deposition for March 16. On March 14, however,
Bass informed Fed Ex that he could not appear for the March 16
deposition, but he indicated that he would provide alternative
deposition dates within a few days. Bass has not contacted Fed Ex
since March 14. Therefore, Fed Ex seeks an order compelling Bass
to appear for deposition.

Local Rule 7.2(a}(2) requires that “[t]he response to the
motion and its supporting memorandum . . . shall be filed within
fifteen days after service of the motion and shall be accompanied

by a proposed order. Failure to respond timely to any motion,

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other than one requesting dismissal of a claim or action, may be
deemed good grounds for granting the motion.” The response to Fed
Ex's motion should have been filed by April 18. Moreover, Bass has
not given any reason why he has failed to appear for the noticed
depositions. Therefore, the Court GRANTS Fed Ex's motion to compel
Bass to appear for his deposition. Bass shall be deposed within
twenty (20) days from the date of this order. Additionally, Bass
is warned that failure to appear for his deposition shall result in
dismissal of the case with prejudice.

The Court also finds good cause to extend the deadlines for
discovery and dispositive motions. The new deadline for both
completing discovery and filing depositive motions shall be June 5,
2005. All other dates listed on the scheduling order, including
the trial date, shall remain the same. If, after deposing the
Plaintiff, Fed Ex needs additional time to complete discovery or
file a dispositive motion, it may file a motion asking for such
relief.

IT IS SO ORDERED.

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TU\M. "§>HAMI
United States Magistrate Judge

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Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
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Honorable Samuel Mays
US DISTRICT COURT

